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 6                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 7
 8   SCANNING TECHNOLOGIES
     INNOVATIONS LLC,                                     Civil Action No. 2:21-MC-64-RSL
 9
                            Plaintiff,
10
            v.                                            APPLICATION FOR WRIT OF
11                                                        EXECUTION
     SMARTOSC US LLC,
12
                            Defendant.
13
14
15
            TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE WESTERN
16
17   DISTRICT OF WASHINGTON AT SEATTLE:

18   The undersigned hereby request that you issue a writ of execution in the above-titled action against
19   the personal and real property of Defendant/Judgment Debtors and deliver it to the Sheriff of King
20
     County.
21
     Dated: June 10, 2021                        Respectfully Submitted,
22
23                                                    By: /s/ Nicholas Ranallo
24                                                      Nicholas Ranallo, Attorney at Law (#51439)
                                                        5058 57th Ave. South
25                                                      Seattle, WA 98118
                                                        (831) 607-9229
26                                                      Fax: (831) 533-5073
                                                        nick@ranallolawoffice.com
27                                                      Attorney for Plaintiff/Judgment Creditor
28

      APPLICATION FOR WRIT OF EXECUTION                                    1
